                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 RUBY FREEMAN and WANDREA' MOSS,                               No. 24-cv-06563-LJL;
                                                               24-mc-00353-LJL
                               Plaintiffs,
                                                               MOTION TO WITHDRAW AS
 v.                                                            COUNSEL AND
                                                               DECLARATION OF
 RUDOLPH W. GIULIANI,                                          KENNETH A. CARUSO IN
                                                               SUPPORT OF THAT MOTION
                               Defendant.


       KENNETH A. CARUSO hereby declares, pursuant to 28 U.S.C. § 1746:

       1.     I am a member of the Bar of this Court and the sole member of Kenneth Caruso

Law LLC. I am lead counsel for Defendant, Rudolph W. Giuliani (“Defendant”), in both 24-cv-

06563-LJL (the “Homestead Action”) and 24-mc-00353-LJL (the “Turnover Proceeding”).

       2.     I submit this Declaration, pursuant to S.D.N.Y. Local Rule 1.4, and Rule 1.16 of

the New York Rules of Professional Conduct, in support of a motion to withdraw as counsel for

Defendant. I make this motion also on behalf of my co-counsel, David Labkowski of Labkowski

Law, P.A.

       3.     The grounds for this motion arise under Professional Rule 1.16(c)(4), (6) and (7),

which provide:

       a lawyer may withdraw from representing a client when: . . . (4) the client insists
       upon taking action with which the lawyer has a fundamental disagreement; . . . (6)
       the client insists upon presenting a claim or defense that is not warranted under
       existing law and cannot be supported by good faith argument for an extension,
       modification, or reversal of existing law; [or] . . . (7) the client fails to cooperate
       in the representation or otherwise renders the representation unreasonably difficult
       for the lawyer to carry out employment effectively[.]

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       8.      With respect to the posture of the Homestead Action: The Court has before it a

fully submitted motion and cross-motion for summary judgment. A Case Management Plan and

Scheduling Order is in place. A trial is scheduled for January 16, 2025.

       9.      With respect to the posture of the Turnover Proceeding:

               a.      The Court issued an Opinion and Order, ECF 62 (the “Turnover Order”),

       requiring Defendant to turnover specific property to Plaintiffs, by Friday, November 15,

       2024. ECF 94 ¶ 3.

               b.      The Giuliani Entities are required to respond to Plaintiffs’ information

       subpoenas today, and Standard USA LLC is required to respond by Friday, November 15,

       2024. Text Order, November 11, 2024.

               c.      Defendant’s deadline to file a motion to modify the Turnover Order, to

       require Plaintiffs-Receivers to treat Defendant’s New York co-op as a homestead, is due

       by Monday, November 18, 2024. ECF 102.

       10.     Counsel are not asserting a retaining or charging lien.

       11.     Pursuant to Local Rule 1.4, we have served a copy of this motion on Defendant

via email. Given the sensitive nature of this filing, we respectfully request that the Court excuse

us, at this time, from the requirement that we:

               a.      Serve a copy of this motion on Plaintiffs; and

               b.      File proof of service on Defendant, on the docket.

       12.     For the foregoing reasons, we respectfully request that the Court grant this motion

to withdraw and enter an order relieving Kenneth Caruso Law LLC and Labkowski Law, P.A. as

counsel for Defendant.




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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.

Executed on November 13, 2024
                                                             By: /s/ Kenneth A. Caruso
                                                             Kenneth Caruso Law LLC
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                                                             Attorneys for Defendant,
                                                             Rudolph W. Giuliani




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